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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                                                                      CASE NO.: 16-11496-BKC-JKO
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

CONSTANCE MARIE FREUND
XXX-XX-2421

_____________________________/
DEBTOR

     TRUSTEE'S MOTION TO DEVIATE FROM PLAN AND DEEM CLAIM WITHDRAWN
     AND CERTIFICATE OF SERVICE OF COURT GENERATED NOTICE OF HEARING

   Robin R. Weiner, Standing Chapter 13 Trustee in the above-referenced case ("Trustee"), hereby files the
Trustee's Motion to Deviate From Plan ("Motion") and Deem Claim Withdrawn and Certificate of Service
of Court Generated Notice of Hearing pursuant to 11 U.S.C. §§ 502 and 1329 and Federal Rules of
Bankruptcy Procedure 2002 and 3007, and states:

   1. The Debtor filed a voluntary Chapter 13 Petition on February 1, 2016.

   2. The Debtor's Chapter 13 Plan was confirmed on October 5, 2016.

   3. The case was dismissed on February 8, 2019.

   4. Bayview Loan Servicing, LLC ("Creditor"), Account #5422, has filed a Proof of Claim, Court Claim
      #11 ("Claim"), but refuses to accept payments from the Trustee and the Debtor has not modified the
      Plan accordingly.

   5. The Trustee requests permission to deviate from the Plan to disburse payments allocated to Creditor
      to pay administrative, secured, and priority creditors (if applicable) and increase the amount paid to
      allowed unsecured creditors by the balance due to Creditor.

    WHEREFORE the Trustee respectfully requests this Honorable Court grant the Motion and enter an
Order Deviating from the Plan, deeming the Claim withdrawn, allowing the Trustee to disburse payments
allocated to Creditor to pay administrative, secured and priority creditors (if applicable) and increase the
amount paid to allowed unsecured creditors by the balance due to Creditor, and for such other and further
relief as the Court deems just and proper.
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                                                                                         MOTION TO DEVIATE
                                                                                   CASE NO.: 16-11496-BKC-JKO

   I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Motion to
Deviate From Plan and Deem Claim Withdrawnand Certificate of Service of Court Generated Notice of
Hearing and Certificate of Service of Court Generated Notice of Hearing was served, via U.S. first class
mail, certified mail and/or CM/ECF, upon the parties listed on the attached service list this 9th day of April,
2019.

                                                                   /s/ Robin R. Weiner
                                                               _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154


                                              SERVICE LIST

COPIES FURNISHED TO:

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PLANTATION, FL 33324-2632

CREDITOR
Bayview Loan Servicing, LLC
4425 Ponce De Leon Blvd
5th Floor
Coral Gables, FL 33146

ADDITIONAL CREDITORS
Bayview Loan Servicing LLC
c/o Matt Holtsinger
POB 800
Tampa, FL 33601
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                                                                                 MOTION TO DEVIATE
                                                                           CASE NO.: 16-11496-BKC-JKO

Brian Bomstein
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